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B6A (Official Form 6A) (12/07)



In re Francisco Sanchez, Jr.                                                Case No.                         15-50125-rbk
      Ericka Lynn Sanchez                                                                                          (if known)



                                       SCHEDULE A - REAL PROPERTY


                                                                                                                Current Value




                                                                                     Husband, Wife, Joint,
                                                                                                                 of Debtor's
                   Description and                         Nature of Debtor's




                                                                                       or Community
                                                                                                                  Interest in
                     Location of                          Interest in Property
                                                                                                              Property, Without    Amount Of
                      Property                                                                                                    Secured Claim
                                                                                                               Deducting Any
                                                                                                               Secured Claim
                                                                                                                or Exemption


 Homestead: 8811 Oro Vista, San Antonio, TX 78224   fee simple                          C                          $150,280.00      $105,795.54




                                                                                 Total:                            $150,280.00
                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)




In re Francisco Sanchez, Jr.                                                               Case No.     15-50125-rbk
      Ericka Lynn Sanchez                                                                                      (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,

             Type of Property             None                   Description and Location of Property
                                                                                                                                             Without Deducting
                                                                                                                                               any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption

1. Cash on hand.                                 Cash on hand                                                              C                          $60.00



2. Checking, savings or other finan-             Bank of America - checking                                                C                           $0.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,            San Antonio Credit Union - checking                                       C                         $280.00
thrift, building and loan, and home-
stead associations, or credit unions,            San Antonio Credit Union - savings                                        C                           $0.00
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household goods                                                           C                       $1,300.00
including audio, video and computer
equipment.                                       Table                                                                     C                         $250.00
                                                 (PMSI: Famsa)

                                                 TV; Refrigerator                                                          C                       $3,024.00
                                                 (PMSI: Express Rent to Own)


5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                                  C                         $800.00



7. Furs and jewelry.                             Jewelry; Watches                                                          C                         $120.00



8. Firearms and sports, photo-            X
graphic, and other hobby equipment.
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B6B (Official Form 6B) (12/07) -- Cont.




In re Francisco Sanchez, Jr.                                                                Case No.    15-50125-rbk
      Ericka Lynn Sanchez                                                                                      (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 1




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,

             Type of Property              None                  Description and Location of Property
                                                                                                                                             Without Deducting
                                                                                                                                               any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption


9. Interests in insurance policies.               Debtor's life insurance through work - Term                              C                           $1.00
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name                   Joint Debtor's Social Security benefits                                  C                       $1,039.00
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Debtor's TRS                                                             C                      $86,464.07
or other pension or profit sharing
plans. Give particulars.                          403(b)                                                                   C                       $1,558.33



13. Stock and interests in incorpo-               Spotless Angel Cleaning Service                                          C                           $0.00
rated and unincorporated businesses.              Debtor is sole owner
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X
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                                               57
B6B (Official Form 6B) (12/07) -- Cont.




In re Francisco Sanchez, Jr.                                                                   Case No.     15-50125-rbk
      Ericka Lynn Sanchez                                                                                          (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 2




                                                                                                                         Husband, Wife, Joint,
                                                                                                                                                 Current Value of
                                                                                                                                                 Debtor's Interest




                                                                                                                           or Community
                                                                                                                                                    in Property,

             Type of Property               None                   Description and Location of Property
                                                                                                                                                 Without Deducting
                                                                                                                                                   any Secured
                                                                                                                                                      Claim or
                                                                                                                                                     Exemption


17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to                 Est. 2014 tax refund (based on last year's refund)                          C                       $6,016.00
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-                  Debtor's pending wrongful termination claim                                 C                        Unknown
dated claims of every nature,                      The listing of a value, or unknown value, which may appear
including tax refunds, counterclaims               as "0", and/or the listing of a dollar-limited exemption is not
of the debtor, and rights to setoff                intended to limit or affect Debtor's potential recovery in this
claims. Give estimated value of each.              matter.
                                                   The full remaining 11 USC sec. 522(d)(5) exemption is also
                                                   asserted even though the dollar amount is not listed.



22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.
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                                               57
B6B (Official Form 6B) (12/07) -- Cont.




In re Francisco Sanchez, Jr.                                                              Case No.     15-50125-rbk
      Ericka Lynn Sanchez                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 3




                                                                                                                    Husband, Wife, Joint,
                                                                                                                                            Current Value of
                                                                                                                                            Debtor's Interest




                                                                                                                      or Community
                                                                                                                                               in Property,

             Type of Property              None                 Description and Location of Property
                                                                                                                                            Without Deducting
                                                                                                                                              any Secured
                                                                                                                                                 Claim or
                                                                                                                                                Exemption


24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                1994 Dodge Dakota Club Cab                                              C                       $1,767.00
and other vehicles and accessories.
                                                  2011 Ram 1500 Quad Cab SLT                                              C                      $19,037.50
                                                  (Lienholder: Santander)

                                                  2013 Chrysler 300                                                       C                      $22,575.00
                                                  (Lienholder: Ally)



26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,               4 Vacuums; 3 mops; 2 buckets; 2 brooms; 1 ladder;                       C                         $800.00
and supplies used in business.                    chemicals



30. Inventory.                             X

31. Animals.                                      3 Dogs                                                                  C                           $0.00



32. Crops - growing or harvested.          X
Give particulars.
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B6B (Official Form 6B) (12/07) -- Cont.




In re Francisco Sanchez, Jr.                                                                  Case No.     15-50125-rbk
      Ericka Lynn Sanchez                                                                                         (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                         Husband, Wife, Joint,
                                                                                                                                                 Current Value of
                                                                                                                                                 Debtor's Interest




                                                                                                                           or Community
                                                                                                                                                    in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                 Without Deducting
                                                                                                                                                   any Secured
                                                                                                                                                      Claim or
                                                                                                                                                     Exemption


33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                         $145,091.90
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
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B6C (Official Form 6C) (4/13)



In re Francisco Sanchez, Jr.                                                                   Case No.    15-50125-rbk
      Ericka Lynn Sanchez                                                                                         (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                    Current
                                                                                                                               Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                          Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                   Exemption



 Homestead: 8811 Oro Vista, San Antonio, TX              11 U.S.C. § 522(d)(1)                                 $44,484.46             $150,280.00
 78224
                                                         11 U.S.C. § 522(d)(5)                                       $0.00

 Cash on hand                                            11 U.S.C. § 522(d)(5)                                      $60.00                  $60.00

 Bank of America - checking                              11 U.S.C. § 522(d)(5)                                       $0.00                      $0.00

 San Antonio Credit Union - checking                     11 U.S.C. § 522(d)(5)                                    $280.00                 $280.00

 San Antonio Credit Union - savings                      11 U.S.C. § 522(d)(5)                                       $0.00                      $0.00

 Household goods                                         11 U.S.C. § 522(d)(3)                                  $1,300.00               $1,300.00

 Table                                                   11 U.S.C. § 522(d)(3)                                       $0.00                $250.00
 (PMSI: Famsa)

 TV; Refrigerator                                        11 U.S.C. § 522(d)(3)                                       $0.00              $3,024.00
 (PMSI: Express Rent to Own)

 Clothing                                                11 U.S.C. § 522(d)(3)                                    $800.00                 $800.00

 Jewelry; Watches                                        11 U.S.C. § 522(d)(4)                                    $120.00                 $120.00

 Debtor's life insurance through work - Term             11 U.S.C. § 522(d)(7)                                       100%                       $1.00

 Joint Debtor's Social Security benefits                 11 U.S.C. § 522(d)(10)(A)                                   100%               $1,039.00

 Debtor's TRS                                            11 U.S.C. § 522(d)(12)                                      100%              $86,464.07



* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                              $134,548.53             $243,618.07
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B6C (Official Form 6C) (4/13) -- Cont.



In re Francisco Sanchez, Jr.                                                           Case No.   15-50125-rbk
      Ericka Lynn Sanchez                                                                                (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                         Continuation Sheet No. 1



                                                                                                                           Current
                                                                                                                      Value of Property
                                                          Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property
                                                                   Exemption                     Exemption                Exemption



 403(b)                                               11 U.S.C. § 522(d)(12)                              100%               $1,558.33

 Spotless Angel Cleaning Service                      11 U.S.C. § 522(d)(5)                               $0.00                  $0.00
 Debtor is sole owner

 Est. 2014 tax refund (based on last year's           11 U.S.C. § 522(d)(5)                           $3,575.54              $6,016.00
 refund)

 Debtor's pending wrongful termination claim          11 U.S.C. § 522(d)(11)(E)                           100%                Unknown

 The listing of a value, or unknown value, which      11 U.S.C. § 522(d)(5)                            Unknown
 may appear as "0", and/or the listing of a dollar-
 limited exemption is not intended to limit or
 affect Debtor's potential recovery in this matter.
 The full remaining 11 USC sec. 522(d)(5)
 exemption is also asserted even though the
 dollar amount is not listed.

 1994 Dodge Dakota Club Cab                           11 U.S.C. § 522(d)(2)                           $1,767.00              $1,767.00

 2011 Ram 1500 Quad Cab SLT                           11 U.S.C. § 522(d)(5)                               $0.00             $19,037.50
 (Lienholder: Santander)

 2013 Chrysler 300                                    11 U.S.C. § 522(d)(2)                               $0.00             $22,575.00
 (Lienholder: Ally)

 4 Vacuums; 3 mops; 2 buckets; 2 brooms; 1            11 U.S.C. § 522(d)(6)                             $800.00                $800.00
 ladder; chemicals

 3 Dogs                                               11 U.S.C. § 522(d)(3)                               $0.00                  $0.00




                                                                                                    $141,241.40            $295,371.90
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B6D (Official Form 6D) (12/07)
          In re Francisco Sanchez, Jr.                                                                                   Case No. 15-50125-rbk
                 Ericka Lynn Sanchez                                                                                                        (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                       AMOUNT OF         UNSECURED




                                                                                                                                     UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                         CLAIM           PORTION, IF




                                                                                                                                      CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                       DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                         WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                       DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                           VALUE OF
                                                                                             PROPERTY SUBJECT                                       COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    02/2013
ACCT #: xxxxxxxx6232                                                              NATURE OF LIEN:
                                                                                  Automobile
Ally Financial                                                                    COLLATERAL:
                                                                                  2013 Chrysler 300                                                    $23,823.00          $1,248.00
200 Renaissance Ctr                                           C                   REMARKS:
Detroit, MI 48243



                                                                                  VALUE:                            $22,575.00
                                                                                  DATE INCURRED:
ACCT #: xxxxxxxx0350                                                              NATURE OF LIEN:
                                                                                  Property Taxes
Bexar Co. Assessor/Collector                                                      COLLATERAL:
                                                                                  Homestead: 8811 Oro Vista, San Antonio, TX 78224                      $3,397.54
Albert Uresti, MPA                                            C                   REMARKS:
P.O. Box 839950                                                                   Escrowed
San Antonio, TX 78283-3950


                                                                                  VALUE:                           $150,280.00
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  rental agreement
Express Rent to Own                                                               COLLATERAL:
                                                                                  TV; Refrigerator                                                      $3,024.00
423 Sw Military Dr # 1                                        C                   REMARKS:
San Antonio, TX 78221



                                                                                  VALUE:                             $3,024.00
                                                                                  DATE INCURRED:    08/2009
ACCT #: xxxxxxxxxxx9881                                                           NATURE OF LIEN:
                                                                                  Installment Sales Contract
Famsa Inc                                                                         COLLATERAL:
                                                                                  Table                                                                   $890.00            $640.00
Po Box 36929                                                  C                   REMARKS:
Houston, TX 77236



                                                                                  VALUE:                               $250.00
                                                                                                         Subtotal (Total of this Page) >                 $31,134.54          $1,888.00
                                                                                                        Total (Use only on last page) >
________________continuation
       1                     sheets attached                                                                                                        (Report also on   (If applicable,
                                                                                                                                                    Summary of        report also on
                                                                                                                                                    Schedules.)       Statistical
                                                                                                                                                                      Summary of
                                                                                                                                                                      Certain Liabilities
                                                                                                                                                                      and Related
                                                                                                                                                                      Data.)
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B6D (Official Form 6D) (12/07) - Cont.
          In re Francisco Sanchez, Jr.                                                                                     Case No. 15-50125-rbk
                 Ericka Lynn Sanchez                                                                                                          (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                       AMOUNT OF         UNSECURED




                                                                                                                                       UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                         CLAIM           PORTION, IF




                                                                                                                                        CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                         DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                         WITHOUT             ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                       DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                           VALUE OF
                                                                                               PROPERTY SUBJECT                                       COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:
ACCT #:                                                                             NATURE OF LIEN:
                                                                                    Mortgage Lien
Nationstar Mortgage LLC                                                             COLLATERAL:
                                                                                    Homestead: 8811 Oro Vista, San Antonio, TX 78224                     $97,798.00
350 Highland Drive                                              C                   REMARKS:
Lewisville, TX 75067



                                                                                    VALUE:                           $150,280.00
                                                                                    DATE INCURRED:    Various
ACCT #:                                                                             NATURE OF LIEN:
                                                                                    Mortgage arrears
Nationstar Mortgage LLC                                                             COLLATERAL:
                                                                                    Homestead: 8811 Oro Vista, San Antonio, TX 78224                      $2,000.00
350 Highland Drive                                              C                   REMARKS:
Lewisville, TX 75067                                                                Arrears through and including January
                                                                                    2015.


                                                                                    VALUE:                             $2,000.00
                                                                                    DATE INCURRED:
ACCT #:                                                                             NATURE OF LIEN:
                                                                                    HOA Dues
Owners Association Lago Vista                                                       COLLATERAL:
                                                                                    Homestead: 8811 Oro Vista, San Antonio, TX 78224                      $4,600.00
c/o Pro Comm                                                    C                   REMARKS:
300 Sonterra Blvd., Ste. 250                                                        Arrears through and including 2015.
San Antonio, TX 78258


                                                                                    VALUE:                           $150,280.00
                                                                                    DATE INCURRED:    07/2011
ACCT #: xxxxxxxxxxxxx1000                                                           NATURE OF LIEN:
                                                                                    Automobile
Santander Consumer Usa                                                              COLLATERAL:
                                                                                    2011 Ram 1500 Quad Cab SLT                                           $24,630.88          $5,593.38
Po Box 961245                                                   C                   REMARKS:
Ft Worth, TX 76161



                                                                                    VALUE:                            $19,037.50
Sheet no. __________
               1       of __________
                                1     continuation sheets attached                                         Subtotal (Total of this Page) >               $129,028.88           $5,593.38
to Schedule of Creditors Holding Secured Claims                                                           Total (Use only on last page) >                $160,163.42           $7,481.38
                                                                                                                                                      (Report also on   (If applicable,
                                                                                                                                                      Summary of        report also on
                                                                                                                                                      Schedules.)       Statistical
                                                                                                                                                                        Summary of
                                                                                                                                                                        Certain Liabilities
                                                                                                                                                                        and Related
                                                                                                                                                                        Data.)
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B6E (Official Form 6E) (04/13)

In re Francisco Sanchez, Jr.                                                                      Case No.        15-50125-rbk
      Ericka Lynn Sanchez                                                                                                 (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
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B6E (Official Form 6E) (04/13) - Cont.
In re Francisco Sanchez, Jr.                                                                                              Case No. 15-50125-rbk
      Ericka Lynn Sanchez                                                                                                                    (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Administrative allowances




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED:   01/08/2015
                                                                                 CONSIDERATION:
Davis Law Firm                                                                   Attorney Fees                                        $2,800.00       $2,800.00        $0.00
10500 Heritage Blvd., Ste. 102                                                   REMARKS:
San Antonio, TX 78216                                          C




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >         $2,800.00       $2,800.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                       $2,800.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                    $2,800.00        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07)
  In re Francisco Sanchez, Jr.                                                                                      Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                   (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                       CLAIM




                                                                                                                                         CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: xxx2311                                                                       DATE INCURRED:   10/15/1999
                                                                                      CONSIDERATION:
Ahesi/CitiMortgage Inc.                                                               Notice Only                                                        Notice Only
Attention: Bankruptcy                                                                 REMARKS:
                                                                C
PO Box 79022 MS 322                                                                   ACCOUNT TRANSFERRED
St. Louis, MO 63179

ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Atlas Credit                                                                          Money Loaned                                                          $450.00
1719 Southwest Military Drive                                                         REMARKS:
                                                                C
San Antonio, TX 78221



ACCT #: 2605                                                                          DATE INCURRED:   04/22/2009
                                                                                      CONSIDERATION:
Auto Acct Sv                                                                          Notice Only                                                        Notice Only
1127 Rayburn                                                                          REMARKS:
                                                                C
San Antonio, TX 78221



ACCT #: xxxx5411                                                                      DATE INCURRED:   09/26/2006
                                                                                      CONSIDERATION:
Bank of America                                                                       Notice Only                                                        Notice Only
Attn: Correspondence Unit/CA6-919-02-41                                               REMARKS:
                                                                C
PO Box 5170                                                                           Transferred
Simi Valley, CA 93062

ACCT #: xxxxxxxxxxxx6728                                                              DATE INCURRED:   03/29/1995
                                                                                      CONSIDERATION:
Bk Of Amer                                                                            Notice Only                                                        Notice Only
Po Box 982235                                                                         REMARKS:
                                                                C
El Paso, TX 79998



ACCT #: xxxxxxxxxxxxx1623                                                             DATE INCURRED:   07/2012
                                                                                      CONSIDERATION:
Business & Professional Services                                                      Collecting for -Greater SA ER Physicians                               $65.00
621 N. Alamo St.                                                                      REMARKS:
                                                                C
Attn: Bankruptcy
San Antonio, TX 78215

                                                                                                                                    Subtotal >               $515.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       8                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 14 of
                                               57
B6F (Official Form 6F) (12/07) - Cont.
  In re Francisco Sanchez, Jr.                                                                                         Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                      (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                               UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                                CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                 DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxxx1623                                                                 DATE INCURRED:   09/2012
                                                                                          CONSIDERATION:
Business & Professional Services                                                          Collecting for -Greater SA ER Physicians                                   $61.00
621 N. Alamo St.                                                                          REMARKS:
                                                                    C
Attn: Bankruptcy
San Antonio, TX 78215

ACCT #: xxxxxxxxxxxxx0640                                                                 DATE INCURRED:   07/2012
                                                                                          CONSIDERATION:
Business & Professional Services                                                          Collecting for -Pahtology Associates of SA                                 $26.00
621 N. Alamo St.                                                                          REMARKS:
                                                                    C
Attn: Bankruptcy
San Antonio, TX 78215

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Cavalry Investments                                                                       Collecting for -Sprint                                                     $30.69
500 Summit Lake Drive, Ste. 400                                                           REMARKS:
                                                                    C
Valhalla, NY 10595



ACCT #: xxxxxxxxxxxxxxxx3332                                                              DATE INCURRED:   03/2014
                                                                                          CONSIDERATION:
Cmre Financial Services Inc                                                               Collecting for -Mission Trail Baptist Hospital                          $1,177.00
3075 E Imperial Hwy Ste 200                                                               REMARKS:
                                                                    C
Brea, CA 92821



ACCT #: xxxxx1931                                                                         DATE INCURRED:   05/2005
                                                                                          CONSIDERATION:
Conns Credit Corp                                                                         Notice Only                                                           Notice Only
Box 2358                                                                                  REMARKS:
                                                                    C
Beaumont, TX 77704



ACCT #: xxxxxxx0245                                                                       DATE INCURRED:   10/2006
                                                                                          CONSIDERATION:
Consumer Portfolio Svc                                                                    Notice Only                                                           Notice Only
Attn:Bankruptcy                                                                           REMARKS:
                                                                    C
19500 Jamboree Rd
Irvine, CA 92612

Sheet no. __________
              1        of __________
                               8     continuation sheets attached to                                                                       Subtotal >              $1,294.69
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 15 of
                                               57
B6F (Official Form 6F) (12/07) - Cont.
  In re Francisco Sanchez, Jr.                                                                                          Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxx5001                                                                      DATE INCURRED:   01/13/2014
                                                                                          CONSIDERATION:
Credit Rcvry                                                                              Money Loaned                                                         $1,173.00
Pob 1228                                                                                  REMARKS:
                                                                    C
Mauldin, SC 29662



ACCT #: xxxxxxxx1501                                                                      DATE INCURRED:   04/17/2013
                                                                                          CONSIDERATION:
Credit Rcvry                                                                              Money Loaned                                                          $700.00
Pob 1228                                                                                  REMARKS:
                                                                    C
Mauldin, SC 29662



ACCT #: xxxxxxxx1001                                                                      DATE INCURRED:   09/11/2011
                                                                                          CONSIDERATION:
Credit Rcvry                                                                              Money Loaned                                                          $452.00
Pob 1228                                                                                  REMARKS:
                                                                    C
Mauldin, SC 29662



ACCT #: xxx3479                                                                           DATE INCURRED:   09/2012
                                                                                          CONSIDERATION:
Datasearch                                                                                Collecting for -SO TX Radiology Group                                   $69.00
PO Box 461289                                                                             REMARKS:
                                                                    C
San Antonio, TX 78246



ACCT #: xxxxxxxxxxx0149                                                                   DATE INCURRED:   09/2008
                                                                                          CONSIDERATION:
Dept Of Education/neln                                                                    Educational                                                        Notice Only
Po Box 173904                                                                             REMARKS:
                                                                    C
Denver, CO 80217                                                                          Transferred



ACCT #: xxxxxxxxxxxxxxxxxxx0910                                                           DATE INCURRED:   09/2008
                                                                                          CONSIDERATION:
Dpt Ed/slm                                                                                Educational                                                        Notice Only
Po Box 9635                                                                               REMARKS:
                                                                    C
Wilkes Barre, PA 18773                                                                    Transferred



Sheet no. __________
              2        of __________
                               8     continuation sheets attached to                                                                    Subtotal >              $2,394.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 16 of
                                               57
B6F (Official Form 6F) (12/07) - Cont.
  In re Francisco Sanchez, Jr.                                                                                           Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                        (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                     AMOUNT OF




                                                                                                                                             UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                        CLAIM




                                                                                                                                              CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                               DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx1832                                                                  DATE INCURRED:   04/2013
                                                                                          CONSIDERATION:
First Premier Bank                                                                        Credit Card                                                            $427.00
601 S Minnesota Ave                                                                       REMARKS:
                                                                    C
Sioux Falls, SD 57104                                                                     Charge Off for $427 on 01/14
                                                                                          Account Closed By Grantor


ACCT #: xxxx8621                                                                          DATE INCURRED:   04/15/2014
                                                                                          CONSIDERATION:
Great Plains Lending                                                                      Unsecured                                                              $438.00
7490 Us Highway 17                                                                        REMARKS:
                                                                    C
Red Rock, OK 74651                                                                        Current Account



ACCT #: xxxxxxxxxxx7722                                                                   DATE INCURRED:   04/19/2004
                                                                                          CONSIDERATION:
Lacks Furniture                                                                           Notice Only                                                         Notice Only
1600 NE Loop 410 Suite 112                                                                REMARKS:
                                                                    C
San Antonio, TX 78209



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Linebarger Goggan Blair                                                                   NOTICE: Attorneys for Bexar County                                  Notice Only
& Sampson LLP                                                                             REMARKS:
                                                                    C
711 Navarro, Suite 300
San Antonio TX 78205

ACCT #: xxxxxx8597                                                                        DATE INCURRED:   10/2008
                                                                                          CONSIDERATION:
Loancare Servicing Ctr                                                                    Notice Only                                                         Notice Only
Interstate Corporate Center                                                               REMARKS:
                                                                    C
Norfolk, VA 23502



ACCT #: xxxxxx0002                                                                        DATE INCURRED:   01/2014
                                                                                          CONSIDERATION:
Med Data Sys                                                                              Collecting for -Southwest General Hospital                             $165.00
2001 19th Ave Suite 312                                                                   REMARKS:
                                                                    C
Vero Beach, FL 32960



Sheet no. __________
              3        of __________
                               8     continuation sheets attached to                                                                     Subtotal >              $1,030.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 17 of
                                               57
B6F (Official Form 6F) (12/07) - Cont.
  In re Francisco Sanchez, Jr.                                                                                          Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxx0130                                                                        DATE INCURRED:   03/2011
                                                                                          CONSIDERATION:
Midland Funding                                                                           Collecting for -Bank of Americ                                     Notice Only
8875 Aero Dr Ste 200                                                                      REMARKS:
                                                                    C                                                                                X
San Diego, CA 92123                                                                       Debtor has never had an account with the
                                                                                          original creditor.


ACCT #: xxxxxxxxxxxxx9001                                                                 DATE INCURRED:   07/2001
                                                                                          CONSIDERATION:
Mitsubishi Motor Credi                                                                    Notice Only                                                        Notice Only
MMCA                                                                                      REMARKS:
                                                                    C
PO Box 4401                                                                               Transferred
Bridgeton, MO 63044

ACCT #: xxxxxxxxxxxx9614                                                                  DATE INCURRED:   07/2001
                                                                                          CONSIDERATION:
Mmca/c1                                                                                   Notice Only                                                        Notice Only
PO Box 991817                                                                             REMARKS:
                                                                    C
Mobile, AL 36691



ACCT #: xxxxxxxxxxxxxxxxxxx1024                                                           DATE INCURRED:   10/2003
                                                                                          CONSIDERATION:
Navient                                                                                   Educational                                                         $68,961.00
Po Box 9500                                                                               REMARKS:
                                                                    C
Wilkes Barre, PA 18773



ACCT #: xxxxxx4020                                                                        DATE INCURRED:   09/26/2006
                                                                                          CONSIDERATION:
New Century Mortgage C/Carrington                                                         Notice Only                                                        Notice Only
1610 E. St. Andrew Place                                                                  REMARKS:
                                                                    C
B150                                                                                      Transferred
Santa Ana, CA 92705

ACCT #: xxxx0101                                                                          DATE INCURRED:   08/06/2005
                                                                                          CONSIDERATION:
Peak5/Centrix Res Sys                                                                     Notice Only                                                        Notice Only
Attn:Auto Portfolio Svcs Inc                                                              REMARKS:
                                                                    C
PO Box 4097                                                                               Transferred
Greenwood Village, CO 80155

Sheet no. __________
              4        of __________
                               8     continuation sheets attached to                                                                    Subtotal >             $68,961.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 18 of
                                               57
B6F (Official Form 6F) (12/07) - Cont.
  In re Francisco Sanchez, Jr.                                                                                          Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                               UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                                CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                 DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxx9538                                                                    DATE INCURRED:
                                                                                          CONSIDERATION:
Pro Collect                                                                               Notice Only                                                           Notice Only
12170 Abrams Rd Ste 100                                                                   REMARKS:
                                                                    C
Dallas, TX 75243                                                                          Original Creditor Name: 01 FAMSA TX



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Pulman Cappuccio Pullen & Benson, LLP                                                     Attorney for -Owners Association of Largo Vista In                    Notice Only
2161 NW Military Hwy, Suite 400                                                           REMARKS:
                                                                    C
San Antonio, TX 78213



ACCT #: xxxxxxx3301                                                                       DATE INCURRED:   09/11/2011
                                                                                          CONSIDERATION:
Regional Fin                                                                              Notice Only                                                           Notice Only
1121 Sw Military D                                                                        REMARKS:
                                                                    C
San Antonio, TX 78221                                                                     ACCOUNT TRANSFERRED



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Regional Management Corp.                                                                 Money Loaned                                                             $730.91
P.O. Box 776                                                                              REMARKS:
                                                                    C
Mauldin, SC 29662



ACCT #: xxxx2735                                                                          DATE INCURRED:   08/11/2014
                                                                                          CONSIDERATION:
Rise                                                                                      Unsecured                                                                $415.00
4150 International                                                                        REMARKS:
                                                                    C
Fort Worth, TX 76109                                                                      Current Account



ACCT #: xxxxxxxxx0465                                                                     DATE INCURRED:   09/2006
                                                                                          CONSIDERATION:
Select Portfolio Servicing                                                                Notice Only                                                           Notice Only
PO Box 65250                                                                              REMARKS:
                                                                    C
Salt Lake City, UT 84165                                                                  Foreclosure



Sheet no. __________
              5        of __________
                               8     continuation sheets attached to                                                                     Subtotal >                $1,145.91
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 19 of
                                               57
B6F (Official Form 6F) (12/07) - Cont.
  In re Francisco Sanchez, Jr.                                                                                          Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxxxxxxxxx0910                                                           DATE INCURRED:   09/2008
                                                                                          CONSIDERATION:
Slm Financial Corp                                                                        Educational                                                        Notice Only
Po Box 9500                                                                               REMARKS:
                                                                    C
Wilkes-barre, PA 18773                                                                    Transferred



ACCT #: xxxx6391                                                                          DATE INCURRED:   08/06/2005
                                                                                          CONSIDERATION:
Sst/cudcpbl                                                                               Notice Only                                                        Notice Only
Attn:Bankruptcy                                                                           REMARKS:
                                                                    C
PO Box 3999
St. Joseph, MO 64503

ACCT #: xxxxxxxx1056                                                                      DATE INCURRED:   03/1997
                                                                                          CONSIDERATION:
Syncb/mervyns                                                                             Notice Only                                                        Notice Only
Po Box 965005                                                                             REMARKS:
                                                                    C
Orlando, FL 32896



ACCT #: xxxx0918                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Tam/spearsdh                                                                              Collecting for -IBC                                                   $291.00
4115 Medical Drive                                                                        REMARKS:
                                                                    C
San Antonio, TX 78229



ACCT #: xxx9668                                                                           DATE INCURRED:   09/2008
                                                                                          CONSIDERATION:
U S Dept Of Ed/fisl/at                                                                    Notice Only                                                        Notice Only
Attn: Bankruptcy                                                                          REMARKS:
                                                                    C
61 Forsythe St Room 19T89
Atlanta, GA 30303

ACCT #: xxxxxxxxxZ001                                                                     DATE INCURRED:   12/22/2004
                                                                                          CONSIDERATION:
Western Shamrock Corporation                                                              Notice Only                                                        Notice Only
Attention: Bankruptcy                                                                     REMARKS:
                                                                    C
801 S Abe St. Ste, 2A                                                                     ACCOUNT TRANSFERRED
San Angelo, TX 76903

Sheet no. __________
              6        of __________
                               8     continuation sheets attached to                                                                    Subtotal >               $291.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 20 of
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B6F (Official Form 6F) (12/07) - Cont.
  In re Francisco Sanchez, Jr.                                                                                          Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: x8282                                                                             DATE INCURRED:   11/22/2011
                                                                                          CONSIDERATION:
Worth Financ                                                                              Notice Only                                                        Notice Only
11671 Jollyville R                                                                        REMARKS:
                                                                    C
Austin, TX 78759



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Service                                                                  Required Notification
Special Procedures Staff-Insolvency                                                       REMARKS:
PO Box 7346
Philadelphia, PA 19101

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
United States Attorney                                                                    Required Notification
Taxpayer Division                                                                         REMARKS:
601 N.W. Loop 410, Suite 600
San Antonio, TX 78216-5512

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
United States Attorney                                                                    Required Notification
Vet.Admin./Fed. Housing Admin.                                                            REMARKS:
601 N.W. Loop 410, Suite 600
San Antonio, TX 78216-5512

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
United States Attorney                                                                    Required Notification
601 N. W. Loop 410, Ste. 600                                                              REMARKS:
San Antonio, TX 78216



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
United States Attorney General                                                            Required Notification
Department of Justice                                                                     REMARKS:
950 Pennsylvania Avenue, N.W.
Washington, DC 20530

Sheet no. __________
              7        of __________
                               8     continuation sheets attached to                                                                    Subtotal >                 $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 21 of
                                               57
B6F (Official Form 6F) (12/07) - Cont.
  In re Francisco Sanchez, Jr.                                                                                     Case No. 15-50125-rbk
           Ericka Lynn Sanchez                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
United States Trustee                                                                     Required Notification
615 E. Houston, Suite 533                                                                 REMARKS:
San Antonio, TX 78205



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
VA Regional Office                                                                        Required Notification
Office of District Counsel                                                                REMARKS:
2515 Murworth Drive
Houston, TX 77054




Sheet no. __________
              8        of __________
                               8     continuation sheets attached to                                                               Subtotal >                 $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                      $75,631.60
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
      15-50125-rbk Doc#10 Filed 01/28/15 Entered 01/28/15 15:31:53 Main Document Pg 22 of
                                               57
B6G (Official Form 6G) (12/07)
   In re Francisco Sanchez, Jr.                                                         Case No.     15-50125-rbk
         Ericka Lynn Sanchez                                                                            (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
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                                               57
B6H (Official Form 6H) (12/07)
In re Francisco Sanchez, Jr.                                                                       Case No.      15-50125-rbk
      Ericka Lynn Sanchez                                                                                               (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
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                                              57
 Fill in this information to identify your case:
     Debtor 1              Francisco                                   Sanchez, Jr.
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Ericka               Lynn                   Sanchez                                  An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           15-50125-rbk
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             IT Project Manager                                 Disabled
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Texas A&M University San Antonio

      Occupation may include            Employer's address     One University Way
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               San Antonio                  TX       78224
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        13 years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $6,098.34                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $6,098.34                  $0.00




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
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                                              57
Debtor 1 Francisco                                                                Sanchez, Jr.                                    Case number (if known)       15-50125-rbk
            First Name                         Middle Name                        Last Name


                                                                                                                     For Debtor 1                 For Debtor 2 or
                                                                                                                                                  non-filing spouse

      Copy line 4 here ...................................................................................................................
                                                                                                                  4.              $6,098.34                $0.00
5.    List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                      5a.              $815.95                      $0.00
      5b. Mandatory contributions for retirement plans                                                       5b.              $408.59                      $0.00
      5c. Voluntary contributions for retirement plans                                                       5c.              $100.00                      $0.00
      5d. Required repayments of retirement fund loans                                                       5d.                $0.00                      $0.00
      5e. Insurance                                                                                          5e.              $392.03                      $0.00
      5f. Domestic support obligations                                                                       5f.                $0.00                      $0.00
      5g. Union dues                                                                                         5g.                $0.00                      $0.00
      5h. Other deductions.
           Specify: See continuation sheet                                                                   5h. +            $324.75                      $0.00
6.    Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.            $2,041.32                       $0.00
      5g + 5h.
7.    Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $4,057.02                       $0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a                                               8a.                $74.74                     $0.00
           business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

      8b. Interest and dividends                                                                             8b.                  $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                    $0.00
          dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

      8d. Unemployment compensation                                                                          8d.                  $0.00                   $0.00
      8e. Social Security                                                                                    8e.                  $0.00               $1,039.00
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) or any non-
          cash assistance that you receive, such as food stamps
          (benefits under the Supplemental Nutrition Assistance Program)
          or housing subsidies.
          Specify:                                                                                           8f.                  $0.00                    $0.00
      8g. Pension or retirement income                                                                       8g.                  $0.00                    $0.00
      8h. Other monthly income.
          Specify: SS income from children                                                                   8h. +                $0.00                 $444.00

9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                 $74.74                $1,483.00

10. Calculate monthly income. Add line 7 + line 9.                                                           10.           $4,131.76          +       $1,483.00       =       $5,614.76
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                 12.             $5,614.76
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form B 6I                                                                Schedule I: Your Income                                                                          page 2
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                                              57
Debtor 1 Francisco                              Sanchez, Jr.                           Case number (if known)   15-50125-rbk
             First Name           Middle Name   Last Name




1.    Additional Employers Debtor 1                                           Debtor 2 or non-filing spouse

      Occupation           Adjunct Professor
      Employer's name      Alamo College
      Employer's address   1400 W. Villarett


                           San Antonio             TX       78224
                           City                    State    Zip Code          City                              State   Zip Code

      How long employed there?        2 years



                                                                           For Debtor 1          For Debtor 2 or
                                                                                                 non-filing spouse
5h. Other Payroll Deductions (details)
      Dental/Vision                                                                   $77.62              $0.00
      Medical Spending                                                               $208.33              $0.00
      Life                                                                             $1.37              $0.00
      AD&D/LTD                                                                        $22.43              $0.00
      United Way                                                                      $15.00              $0.00

                                                                 Totals:             $324.75              $0.00




Official Form B 6I                              Schedule I: Your Income                                                        page 3
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                                            57
Debtor 1 Francisco                                      Sanchez, Jr.                   Case number (if known)   15-50125-rbk
          First Name                Middle Name         Last Name


8a. Attached Statement (Debtor 1)

                                                  Spotless Angel Cleaning Services

Gross Monthly Income:                                                                                                          $647.22

Expense                                                    Category                                   Amount
Contract Labor                                             Labor                                      $33.67
Supplies                                                   Supplies                                   $53.72
Phone                                                      Telephone                                  $60.44
Travel                                                     Transportation                             $32.83
Advertising                                                Advertising                               $228.67
Answering Specialists                                      Anwering Service & Schedu                  $73.63
Liability                                                  Insurance                                  $81.20
Bonded                                                     Insurance                                   $8.33
Total Monthly Expenses                                                                                                         $572.49

Net Monthly Income:                                                                                                             $74.73




Official Form B 6I                                      Schedule I: Your Income                                                 page 4
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                                              57
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Francisco                                     Sanchez, Jr.                        An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Ericka                 Lynn                   Sanchez
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           15-50125-rbk                                                                        A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            17
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.                                                          Son                                 14
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Daughter                            11
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,403.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                      $50.00

      4d. Homeowner's association or condominium dues                                                                4d.                      $30.00




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
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                                              57
Debtor 1 Francisco                                           Sanchez, Jr.                    Case number (if known)     15-50125-rbk
             First Name              Middle Name             Last Name


                                                                                                                  Your expenses

5.    Additional mortgage payments for your residence, such as home equity loans                            5.

6.    Utilities:

      6a. Electricity, heat, natural gas                                                                    6a.                   $275.00
      6b. Water, sewer, garbage collection                                                                  6b.                    $60.76
      6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                   $180.00
          cable services
      6d. Other. Specify:       Cell Phone                                                                  6d.                   $300.00
7.    Food and housekeeping supplies                                                                        7.                    $901.00
8.    Childcare and children's education costs                                                              8.

9.    Clothing, laundry, and dry cleaning                           (See continuation sheet(s) for details) 9.                    $115.00
10. Personal care products and services                                                                     10.                    $50.00
11. Medical and dental expenses                                                                             11.                   $107.00
12. Transportation. Include gas, maintenance, bus or train                                                  12.                   $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                           13.
    magazines, and books
14. Charitable contributions and religious donations                                                        14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a.    Life insurance                                                                                15a.

      15b.    Health insurance                                                                              15b.

      15c.    Vehicle insurance                                                                             15c.                  $253.00
      15d.    Other insurance. Specify:                                                                     15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                                16.

17. Installment or lease payments:

      17a.    Car payments for Vehicle 1                                                                    17a.

      17b.    Car payments for Vehicle 2                                                                    17b.

      17c.    Other. Specify: Student loans                                                                 17c.                  $400.00
      17d.    Other. Specify:                                                                               17d.

18. Your payments of alimony, maintenance, and support that you did not report as                           18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                                19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
      20a.    Mortgages on other property                                                                   20a.

      20b.    Real estate taxes                                                                             20b.

      20c.    Property, homeowner's, or renter's insurance                                                  20c.

      20d.    Maintenance, repair, and upkeep expenses                                                      20d.

      20e.    Homeowner's association or condominium dues                                                   20e.


 Official Form B 6J                                          Schedule J: Your Expenses                                                 page 2
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                                           57
Debtor 1 Francisco                                         Sanchez, Jr.                       Case number (if known)    15-50125-rbk
           First Name             Middle Name              Last Name


21. Other. Specify:                                                                                          21.    +
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.                 $4,374.76
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                $5,614.76
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –            $4,374.76
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                $1,240.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                                    page 3
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                                              57
Debtor 1 Francisco                                        Sanchez, Jr.                Case number (if known)   15-50125-rbk
          First Name               Middle Name            Last Name



6c. Telephone, cell phone, Internet, satellite, and cable services (details):
      Cable                                                                                                               $85.00
      Internet                                                                                                            $45.00
      Home phone                                                                                                          $50.00

                                                                                            Total:                       $180.00


9.    Clothing, laundry, and dry cleaning (details):
      Clothing                                                                                                            $75.00
      Laundry/Dry Cleaning                                                                                                $40.00

                                                                                            Total:                       $115.00




 Official Form B 6J                                       Schedule J: Your Expenses                                           page 4
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B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                   SAN ANTONIO DIVISION
   In re Francisco Sanchez, Jr.                                                      Case No.     15-50125-rbk
         Ericka Lynn Sanchez
                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                $150,280.00


 B - Personal Property                            Yes      5                $145,091.90

 C - Property Claimed                             Yes      2
     as Exempt
 D - Creditors Holding                            Yes      2                                        $160,163.42
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      2                                            $2,800.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      9                                           $75,631.60
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      4                                                                 $5,614.76
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      4                                                                 $4,374.76
    Individual Debtor(s)

                                             TOTAL         31               $295,371.90             $238,595.02
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                                               57
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                   SAN ANTONIO DIVISION
   In re Francisco Sanchez, Jr.                                                       Case No.      15-50125-rbk
         Ericka Lynn Sanchez
                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                  $68,961.00

 Domestic Support, Separation Agreement, and Divorce Decree                        $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $68,961.00

State the following:

 Average Income (from Schedule I, Line 12)                                     $5,614.76

 Average Expenses (from Schedule J, Line 22)                                   $4,374.76

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $8,287.71

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                              $7,481.38

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $2,800.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $75,631.60

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $83,112.98
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                                              57
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Francisco Sanchez, Jr.                                                           Case No.     15-50125-rbk
      Ericka Lynn Sanchez                                                                                  (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 33
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 1/28/2015                                               Signature    /s/ Francisco Sanchez, Jr.
                                                                         Francisco Sanchez, Jr.

Date 1/28/2015                                               Signature     /s/ Ericka Lynn Sanchez
                                                                          Ericka Lynn Sanchez
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                                57
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                        SAN ANTONIO DIVISION
   In re:   Francisco Sanchez, Jr.                                                                   Case No.      15-50125-rbk
            Ericka Lynn Sanchez                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $4,057.02                   2015 Debtor's est. YTD gross wages.

        $97,992.55                  2014 Debtor's est. gross wages.

        $95,138.00                  2013 Reported gross wages from joint filing.

        $0.00                       2013 Reported business income. Gross business income was $4,290.00.

        $7,766.68                   2014 Debtor's est. gross buisness income.

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $1,039.00                   2015 Joint Debtor's YTD Social Security benefits.

        $12,252.00                  2014 Joint Debtor's est. Social security benefits.

        $11,901.75                  2013 Joint Debtor's est. Social Security benefits.

        $444.00                     2015 Children's YTD Social Security benefits.

        $5,256.00                   2014 Children's est. Social Secuirty benefits.

        $5,177.16                   2013 Children's est. Social Security benefits.

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Ally Financial                                                   October 2014            $556.00                 $23,823.00
        200 Renaissance Ctr
        Detroit, MI 48243

        Nationstar Mortgage LLC                                          November 2014           $2,806.00               $97,798.00
        350 Highland Drive                                               and December
        Lewisville, TX 75067                                             2014
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                                                   WESTERN DISTRICT OF TEXAS
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   In re:   Francisco Sanchez, Jr.                                                               Case No.      15-50125-rbk
            Ericka Lynn Sanchez                                                                                       (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 1



        Navient                                                       Monthly                 $1,200.00              $68,961.00
        Po Box 9500                                                   (90 days)
        Wilkes Barre, PA 18773

        Santander Consumer Usa                                        October 2014            $696.00                $22,918.00
        Po Box 961245
        Ft Worth, TX 76161

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                           COURT OR AGENCY                STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING            AND LOCATION                   DISPOSITION
        Owners Association of Lago                    Suit against debt               In the District Court,         Pending
        Vista Inc.                                                                    407th Judicial District,
        vs. Francisco Sanchez Et Al                                                   Bexar County, Texas
        No. 2014-CI-18372

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

                                                                       DATE OF REPOSSESSION,
                                                                       FORECLOSURE SALE,                DESCRIPTION AND VALUE
        NAME AND ADDRESS OF CREDITOR OR SELLER                         TRANSFER OR RETURN               OF PROPERTY
        Select Portfolio Servicing Inc.                                August/Septem                    339 Cantrell
                                                                       ber 2014                         San Antonio, TX 78221
                                                                                                        $40,880.00
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            Ericka Lynn Sanchez                                                                                        (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 2



       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Davis Law Firm                                               01/08/2015                       $400.00
        10500 Heritage Blvd., Ste. 102
        San Antonio, TX 78216

        Cricket Debt Counseling                                      01/08/2015                       $36.00

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
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            Ericka Lynn Sanchez                                                                                         (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:
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   In re:   Francisco Sanchez, Jr.                                                                   Case No.      15-50125-rbk
            Ericka Lynn Sanchez                                                                                           (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                          BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                       NATURE OF BUSINESS                             DATES

        Spotless Angel Cleaning Service                               Cleaning service                               2012 to present
        8811 Oro Vista
        San Antonio, TX 78224
        XX-XXXXXXX

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.
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   In re:   Francisco Sanchez, Jr.                                                                    Case No.       15-50125-rbk
            Ericka Lynn Sanchez                                                                                             (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 5


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.
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                                                  SAN ANTONIO DIVISION
   In re:   Francisco Sanchez, Jr.                                                       Case No.     15-50125-rbk
            Ericka Lynn Sanchez                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 6



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 1/28/2015                                                 Signature        /s/ Francisco Sanchez, Jr.
                                                               of Debtor        Francisco Sanchez, Jr.

Date 1/28/2015                                                 Signature       /s/ Ericka Lynn Sanchez
                                                               of Joint Debtor Ericka Lynn Sanchez
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION
IN RE:     Francisco Sanchez, Jr.                                                        CASE NO      15-50125-rbk
           Ericka Lynn Sanchez
                                                                                        CHAPTER       13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $3,200.00
     Prior to the filing of this statement I have received:                                         $400.00
     Balance Due:                                                                                  $2,800.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       1/28/2015                              /s/ Jeffrey R. Davis
                         Date                                 Jeffrey R. Davis                           Bar No. 05508350
                                                              Davis Law Firm
                                                              10500 Heritage Blvd., Ste. 102
                                                              San Antonio, TX 78216
                                                              Phone: (210) 734-3599 / Fax: (210) 348-6318
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   IN RE: Francisco Sanchez, Jr.                                                             CASE NO        15-50125-rbk
          Ericka Lynn Sanchez
                                                                                             CHAPTER        13

                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                     Scheme Selected: Federal

                                                            Gross                 Total                           Total Amount   Total Amount
 No.     Category                                   Property Value        Encumbrances       Total Equity               Exempt    Non-Exempt

 N/A     Real Property.                               $150,280.00              $105,795.54    $44,484.46            $44,484.46          $0.00

 1.      Cash on hand.                                     $60.00                    $0.00        $60.00                $60.00          $0.00

 2.      Checking, savings or other financial             $280.00                    $0.00       $280.00               $280.00          $0.00
         accounts, CD's or shares in banks...

 3.      Security deposits with public utilities,            $0.00                   $0.00         $0.00                 $0.00          $0.00
         telephone companies, landlords, others.

 4.      Household goods and furnishings,                $4,574.00               $3,914.00     $1,300.00             $1,300.00          $0.00
         including audio, video...

 5.      Books, pictures and other art objects,              $0.00                   $0.00         $0.00                 $0.00          $0.00
         antiques, stamp, coin, records....

 6.      Wearing apparel.                                 $800.00                    $0.00       $800.00               $800.00          $0.00

 7.      Furs and jewelry.                                $120.00                    $0.00       $120.00               $120.00          $0.00

 8.      Firearms and sports, photographic                   $0.00                   $0.00         $0.00                 $0.00          $0.00
         and other hobby equipment.

 9.      Interests in insurance policies.                    $1.00                   $0.00         $1.00                 $1.00          $0.00

 10.     Annuities.                                      $1,039.00                   $0.00     $1,039.00             $1,039.00          $0.00

 11.     Education IRAs.                                     $0.00                   $0.00         $0.00                 $0.00          $0.00

 12.     Interests in IRA, ERISA, Keogh...              $88,022.40               $1,008.00    $87,014.40            $87,014.40          $0.00

 13.     Stock and interests in incorporated...              $0.00                   $0.00         $0.00                 $0.00          $0.00

 14.     Interests in partnerships....                       $0.00                   $0.00         $0.00                 $0.00          $0.00

 15.     Government and corporate bonds...                   $0.00                   $0.00         $0.00                 $0.00          $0.00

 16.     Accounts receivable.                                $0.00                   $0.00         $0.00                 $0.00          $0.00

 17.     Alimony, maintenance, support, and                  $0.00                   $0.00         $0.00                 $0.00          $0.00
         property settlement to which the.....

 18.     Other liquidated debts owed debtor...           $6,016.00                   $0.00     $6,016.00             $3,575.54      $2,440.46

 19.     Equitable or future interests, life                 $0.00                   $0.00         $0.00                 $0.00          $0.00
         estates, and rights or powers.....

 20.     Contingent and noncontingent interests              $0.00                   $0.00         $0.00                 $0.00          $0.00
         in estate of decedent, death benefit....

 21.     Other contingent and unliquidated                   $0.00                   $0.00         $0.00                 $0.00          $0.00
         claims of every nature.....




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                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                       SAN ANTONIO DIVISION
   IN RE: Francisco Sanchez, Jr.                                                                  CASE NO        15-50125-rbk
          Ericka Lynn Sanchez
                                                                                                 CHAPTER         13

                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                  Continuation Sheet # 1
 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                          Scheme Selected: Federal

                                                               Gross                Total                              Total Amount       Total Amount
 No.      Category                                     Property Value       Encumbrances          Total Equity               Exempt        Non-Exempt

 22.      Patents, copyrights, and other                        $0.00                 $0.00             $0.00                   $0.00            $0.00
          intellectual property.

 23.      Licenses, franchises, and other....                   $0.00                 $0.00             $0.00                   $0.00            $0.00

 24.      Customer Lists.                                       $0.00                 $0.00             $0.00                   $0.00            $0.00

 25.      Automobiles, trucks, trailers, vehicles...       $43,379.50            $48,453.88         $1,767.00             $1,767.00              $0.00

 26.      Boats, motors and accessories.                        $0.00                 $0.00             $0.00                   $0.00            $0.00

 27.      Aircraft and accessories.                             $0.00                 $0.00             $0.00                   $0.00            $0.00

 28.      Office equipment, furnishings...                      $0.00                 $0.00             $0.00                   $0.00            $0.00

 29.      Machinery, fixtures used in business.              $800.00                  $0.00           $800.00               $800.00              $0.00

 30.      Inventory.                                            $0.00                 $0.00             $0.00                   $0.00            $0.00

 31.      Animals.                                              $0.00                 $0.00             $0.00                   $0.00            $0.00

 32.      Crops - growing or harvested.                         $0.00                 $0.00             $0.00                   $0.00            $0.00

 33.      Farming equipment and implements.                     $0.00                 $0.00             $0.00                   $0.00            $0.00

 34.      Farm supplies, chemicals, and feed.                   $0.00                 $0.00             $0.00                   $0.00            $0.00

 35.      Other personal property of any kind.                  $0.00                 $0.00             $0.00                   $0.00            $0.00

                       TOTALS:                           $295,371.90            $159,171.42       $143,681.86           $141,241.40          $2,440.46

 Surrendered Property:
 The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
 of this analysis. The below listed items are to be returned to the lienholder.

   Property Description                                                                       Market Value                      Lien            Equity

Real Property
(None)
Personal Property
(None)


                       TOTALS:                                                                        $0.00                     $0.00              $0.00


 Non-Exempt Property by Item:
 The following property, or a portion thereof, is non-exempt.

   Property Description                                                   Market Value               Lien              Equity       Non-Exempt Amount

Real Property
(None)
Personal Property


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                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                   SAN ANTONIO DIVISION
  IN RE: Francisco Sanchez, Jr.                                                               CASE NO       15-50125-rbk
         Ericka Lynn Sanchez
                                                                                             CHAPTER        13

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 2




 Est. 2014 tax refund (based on last year's refund)                        $6,016.00                         $6,016.00           $2,440.46


                   TOTALS:                                                 $6,016.00             $0.00       $6,016.00           $2,440.46




                                                               Summary
            A. Gross Property Value (not including surrendered property)                                          $295,371.90

            B. Gross Property Value of Surrendered Property                                                              $0.00

            C. Total Gross Property Value (A+B)                                                                   $295,371.90

            D. Gross Amount of Encumbrances (not including surrendered property)                                  $159,171.42

            E. Gross Amount of Encumbrances on Surrendered Property                                                      $0.00

            F. Total Gross Encumbrances (D+E)                                                                     $159,171.42

            G. Total Equity (not including surrendered property) / (A-D)                                          $143,681.86

            H. Total Equity in surrendered items (B-E)                                                                   $0.00

            I. Total Equity (C-F)                                                                                 $143,681.86

            J. Total Exemptions Claimed                     (Wild Card Used: $3,915.54, Available: $0.00)         $141,241.40

            K. Total Non-Exempt Property Remaining (G-J)                                                           $2,440.46




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                                              57
 Fill in this information to identify your case:                                              Check as directed in lines 17 and 21:

 Debtor 1             Francisco                                   Sanchez, Jr.                According to the calculations required by this
                      First Name             Middle Name          Last Name                   Statement:

 Debtor 2            Ericka                  Lynn                 Sanchez                        1. Disposable income is not determined
 (Spouse, if filing) First Name              Middle Name          Last Name                         under 11 U.S.C. § 1325(b)(3).
                                                                                                 2. Disposable income is determined
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                  under 11 U.S.C. § 1325(b)(3).

 Case number          15-50125-rbk                                                               3. The commitment period is 3 years.
 (if known)                                                                                      4. The commitment period is 5 years.


                                                                                                  Check if this is an amended filing
Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/14
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known).


 Part 1:        Calculate Your Average Monthly Income

1.    What is your marital and filing status? Check one only.

           Not married. Fill out Column A, lines 2-11.

           Married. Fill out both Columns A and B, lines 2-11.

      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
      in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                             Column A        Column B
                                                                                             Debtor 1        Debtor 2 or
                                                                                                             non-filing spouse

2.    Your gross wages, salary, tips, bonuses, overtime, and commissions                      $7,977.34                 $0.00
      (before all payroll deductions).
3.    Alimony and maintenance payments. Do not include payments from a spouse                      $0.00                $0.00
      if Column B is filled in.
4.    All amounts from any source which are regularly paid for household                           $0.00                $0.00
      expenses of you or your dependents, including child support. Include
      regular contributions from an unmarried partner, members of your household,
      your dependents, parents, and roommates. Include regular contributions from
      a spouse only if Column B is not filled in. Do not include payments you listed
      on line 3.

5.    Net income from operating a business, profession, or farm
      Gross receipts (before all deductions)                           $800.89
      Ordinary and necessary operating expenses               –        $490.52
                                                                                  Copy
      Net monthly income from a business, profession, or farm          $310.37 here             $310.37                 $0.00


6.    Net income from rental and other real property
      Gross receipts (before all deductions)                              $0.00
      Ordinary and necessary operating expenses               –           $0.00
                                                                                  Copy
      Net monthly income from rental or other real property               $0.00 here               $0.00                $0.00


7.    Interest, dividends, and royalties                                                           $0.00                $0.00


Official Form 22C-1                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
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Debtor 1         Francisco                                                           Sanchez, Jr.                                       Case number (if known) 15-50125-rbk
                 First Name                        Middle Name                       Last Name


                                                                                                                                             Column A                   Column B
                                                                                                                                             Debtor 1                   Debtor 2 or
                                                                                                                                                                        non-filing spouse

8.    Unemployment compensation                                                                                                                         $0.00                           $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                             $0.00                           $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

          10a.

          10b.

          10c. Total amounts from separate pages, if any.                                                                             +                               +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                     $8,287.71            +                  $0.00         =         $8,287.71
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                        Total average
                                                                                                                                                                                                        monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                         $8,287.71
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 in line 13d.
             You are married and your spouse is filing with you. Fill in 0 in line 13d.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.

             In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 on line 13d.

             13a.
             13b.
             13c.                                                                                                     +
                                                                                                                                          $0.00
             13d. Total......................................................................................................................                Copy
                                                                                                                                                                .........................
                                                                                                                                                                    here.                 13d.        –                 $0.00


14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                14.             $8,287.71

15. Calculate your current monthly income for the year. Follow these steps:

      15a.     Copy line 14 here                                                                                                                                                                                $8,287.71
                                                   ...................................................................................................................................................................................
                                                                                                                                                                                                15a.

               Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   X         12

      15b.     The result is your current monthly income for the year for this part of the form.                                                                                                15b.           $99,452.52




Official Form 22C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                       page 2
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Debtor 1      Francisco                                                      Sanchez, Jr.                                     Case number (if known) 15-50125-rbk
              First Name                      Middle Name                    Last Name


16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                     Texas

    16b.    Fill in the number of people in your household.                                               5

    16c.                                                                                                                                                             $78,924.00
            Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                       16c.
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that
                   form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                              $8,287.71
                                                                                         ..............................................................................................................................................
                                                                                                                                                                                      18.

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13d.

    If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                19a.    –                 $0.00

    Subtract line 19a from line 18.                                                                                                                                                 19b.              $8,287.71

20. Calculate your current monthly income for the year. Follow these steps:

    20a.                                                                                                                                                                                             $8,287.71
            Copy line 19b ...................................................................................................................................................................................
                                                                                                                                                                                     20a.

            Multiply by 12 (the number of months in a year).                                                                                                                                     X         12

    20b.    The result is your current monthly income for the year for this part of the form.                                                                                         20b.           $99,452.52

    20c.                                                                                                                                                 $78,924.00
            Copy the median family income for your state and size of household from line 16c. .........................................................................................................
                                                                                                                                           20c.

21. How do the lines compare?

           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X      /s/ Francisco Sanchez, Jr.                                                                      X       /s/ Ericka Lynn Sanchez
           Francisco Sanchez, Jr.                                                                                  Ericka Lynn Sanchez

        Date 1/28/2015                                                                                           Date 1/28/2015
             MM / DD / YYYY                                                                                           MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 22C-2.

    If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 22C-1                    Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                 page 3
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                                            57
 Fill in this information to identify your case:
 Debtor 1               Francisco                                                  Sanchez, Jr.
                        First Name                   Middle Name                   Last Name

 Debtor 2            Ericka                          Lynn                          Sanchez
 (Spouse, if filing) First Name                      Middle Name                   Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number            15-50125-rbk
 (if known)
                                                                                                                                 Check if this is an amended filing


Official Form 22C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                                   12/14
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 22C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 22C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 22C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                             5
      be different from the number of people in your household.


 National Standards                You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                         $1,780.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                    $60.00
      7b. Number of people who are under 65                                        X                 5
                                                                                                          Copy line 7c
      7c. Subtotal. Multiply line 7a by line 7b.                                          $300.00 here                                    $300.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                  $144.00
      7e. Number of people who are 65 or older                                     X
                                                                                                          Copy line 7f
      7f.   Subtotal. Multiply line 7d by line 7e.                                            $0.00 here                       +              $0.00
                                                                                                                                                                Copy total
                                                                                                                                              $300.00 here
      7g. Total. Add lines 7c and 7f................................................................................................................................     7g.    $300.00




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Debtor 1     Francisco                                    Sanchez, Jr.                       Case number (if known) 15-50125-rbk
             First Name             Middle Name           Last Name



 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                $574.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed           $1,272.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Next divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Nationstar Mortgage LLC                                   $1,403.00



                                                              +
                                                                                                                  Repeat this
                                                                                Copy line 9b                      amount on
            9b. Total average monthly payment                         $1,403.00 here               –    $1,403.00 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                    Copy line 9c
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                      $0.00 here               $0.00
            rent expense). If this number is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                   $488.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




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Debtor 1    Francisco                                     Sanchez, Jr.                     Case number (if known) 15-50125-rbk
            First Name             Middle Name            Last Name


 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1       Describe Vehicle 1:    2013 Chrysler 300



      13a. Ownership or leasing costs using IRS Local Standard                                 13a.     $517.00

      13b. Average monthly payment for all debts secured by Vehicle 1.

           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all
           amounts that are contractually due to each secured creditor in the 60 months
           after you file for bankruptcy. Then divide by 60.


            Name of each creditor for Vehicle 1                 Average monthly
                                                                payment
                                                                                                                Repeat this
                                                                                        Copy 13b                amount on
           Ally Financial                                             $556.00           here       –    $556.00
                                                                                                                line 33b.

                                                                                                                Copy net
                                                                                                                Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                            expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0.          13c.       $0.00 here                     $0.00


      Vehicle 2       Describe Vehicle 2:    2011 Ram 1500 Quad Cab SLT



      13d. Ownership or leasing costs using IRS Local Standard                                 13d.     $517.00

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

            Name of each creditor for Vehicle 2                 Average monthly
                                                                payment
                                                                                                                Repeat this
                                                                                        Copy                    amount on
           Santander Consumer Usa                                     $696.00           here       –    $696.00
                                                                                                                line 33c.

                                                                                                                Copy net
                                                                                                                Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                            expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.               13f.       $0.00 here                     $0.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public              $0.00
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                     following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-          $1,174.45
     employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.


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               First Name         Middle Name           Last Name


 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                                       $3.48
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                          $6.17
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                          $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                                      $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                        $0.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                             $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                            +             $75.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 22C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                              $4,401.10

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.

 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                          $448.34
      Disability insurance                                       $17.20
      Health savings account                           +        $208.33

      Total                                                     $673.87 Copy total here                                                                        $673.87
                                                                                                 ...........................................................................

      Do you actually spend this total amount?
              No. How much do you actually spend?
              Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                                     $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses.

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                                 $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.




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Debtor 1     Francisco                                                        Sanchez, Jr.                                    Case number (if known) 15-50125-rbk
             First Name                      Middle Name                      Last Name


 28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
     allowance on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in the non-
      mortgage housing and utilities allowance, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                                                               $0.00
     $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                                                              $27.78
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.                                                                                                                                                    $701.65
     Add lines 25 though 31.

 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33g.

      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                      Average monthly
                                                                                                                                      payment
             Mortgages on your home

      33a.                                                                                                                                   $1,403.00
             Copy line 9b here............................................................................................................................................................................................

             Loans on your first two vehicles

      33b.                                                                                                                                     $556.00
             Copy line 13b here............................................................................................................................................................................................

      33c.                                                                                                                                     $696.00
             Copy line 13e here............................................................................................................................................................................................
      Name of each creditor for                                   Identify property that                       Does payment
      other secured debt                                          secures the debt                             include taxes or
                                                                                                               insurance?

                                                                         No
             Bexar Co. Assessor/CollectorHomestead: 8811 Oro Vista, San Antonio, TX 78224
                                                                                    $284.00
      33d.
                                                                                                                              Yes

             Express Rent to Own                                  TV; Refrigerator                                            No                   $144.00
      33e.
                                                                                                                              Yes

                                                                                                                              No
      33f.   Famsa Inc                                            Table                                                                +           $110.00
                                                                                                                              Yes
             (See continuation page.)
                                                                                                                                                                       Copy total
      33f.                                                                                                       $3,269.67
             Total average monthly payment. Add lines 33a through 33f...............................................................                                   here                        $3,269.67



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Debtor 1      Francisco                                               Sanchez, Jr.                              Case number (if known) 15-50125-rbk
              First Name                 Middle Name                  Last Name


 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

            No. Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                    Identify property that                      Total cure                            Monthly cure
                                         secures the debt                            amount                                amount

 Nationstar Mortgage LLC                 Homestead: 8811 Oro Vista, San
                                                                      $2,000.00  ÷ 60
                                                                        Antonio, TX   =
                                                                                    78224                                           $33.33

                                                                                                            ÷ 60 =

                                                                                                            ÷ 60 =     +
                                                                                                                                                   Copy total
                                                                                                             Total                  $33.33         here           $33.33

 35. Do you owe any priority claims such as a priority tax, child support, or
     alimony -- that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
            No. Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include
                 current or ongoing priority claims, such as those you listed in line 19.

                                                                                                                               $2,800.00
                    Total amount of all past-due priority claims...................................................................................... ÷ 60 =     $46.67

 36. Projected monthly Chapter 13 plan payment                                                                                   $1,240.00
      Current multiplier for your district as stated on the list issued by the Administrative
      Office of the United States Courts (for districts in Alabama and North Carolina) or
      by the Executive Office for United States Trustees (for all other districts).

                                                                                                                             X           9.9 %
      To find a list of district multipliers that includes your district, go online using the link
      specified in the separate instructions for this form. This list may also be available
      at the bankruptcy clerk's office.

                                                                                                                                                   Copy total
      Average monthly administrative expense                                                                                      $122.76          here          $122.76

 37. Add all of the deductions for debt payment.
     Add lines 33g through 36.                                                                                                                                  $3,472.43

 Total Deductions from Income

 38. Add all of the allowed deductions.
                                                                                                            $4,401.10
      Copy line 24, All of the expenses allowed under IRS expense allowances...........................................................

      Copy line 32, All of the additional expense deductions............................................................... $701.65

      Copy line 37, All of the deductions for debt payment.....................................................        +         $3,472.43
                                                                                                                                                   Copy total
      Total deductions                                                                                                           $8,575.18         here         $8,575.18




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Debtor 1          Francisco                                                      Sanchez, Jr.                                   Case number (if known) 15-50125-rbk
                  First Name                      Middle Name                    Last Name


 Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13
                                                                                                                                               $8,287.71
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ................................................................

 40. Fill in any reasonably necessary income you receive for support of dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 22C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans                                                             $604.15
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
                                                                                                                                               $8,575.18
     Copy line 38 here.......................................................................................................................................................

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                               Amount of expense


        43a.

        43b.

        43c.                                                                                +
                                                                                                                         Copy 43d
        43d. Total. Add lines 43a through 43c..........................................                     $0.00 here                  +               $0.00

                                                                                                                                                   Copy total
                                                                                                                           $9,179.33                                  – $9,179.33
 44. Total adjustments. Add lines 40 through 43d..............................................................................................................................
                                                                                                                                                   here


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                        ($891.62)

 Part 3:            Change in Income or Expenses
 46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form have changed or are
     virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in the
     information below. For example, if the wages reported increased after you filed your petition, check 22C-1 in the first column, enter
     line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the amount of the
     increase.


          Form                Line        Reason for change                                                                Date of change                       Increase or      Amount of change
                                                                                                                                                                decrease?

                22C-1                                                                                                                                                 Increase
                22C-2                                                                                                                                                 Decrease

                22C-1                                                                                                                                                 Increase
                22C-2                                                                                                                                                 Decrease

                22C-1                                                                                                                                                 Increase
                22C-2                                                                                                                                                 Decrease

                22C-1                                                                                                                                                 Increase
                22C-2                                                                                                                                                 Decrease




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Debtor 1     Francisco                                  Sanchez, Jr.                     Case number (if known) 15-50125-rbk
             First Name           Middle Name           Last Name


 Part 4:       Sign Below

      By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X     /s/ Francisco Sanchez, Jr.                                        X     /s/ Ericka Lynn Sanchez
            Francisco Sanchez, Jr.                                                  Ericka Lynn Sanchez

           Date 1/28/2015                                                         Date 1/28/2015
                MM / DD / YYYY                                                         MM / DD / YYYY




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                                           57
Debtor 1    Francisco                          Sanchez, Jr.                Case number (if known) 15-50125-rbk
            First Name    Middle Name          Last Name




33. Other secured debts (continued):

 Creditor                               Collateral                             Does payment     Average monthly payment
                                                                               include taxes
                                                                               or insurance?

 Owners Association Lago Vista          Homestead: 8811 Oro Vista, San Antonio, TX 78224
                                                                                    No                           $76.67
                                                                                    Yes




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